 

` , Case 1:07-mj-OO797 Document 1 ;i|ed i TXSD on 08/09/07 Page 1 of 1
A0‘91 (Rev.'5/85) Crimlnal Comp|aint 69

 

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soUTHERN DISTRICT ()F TExAs
AUG 0 9 2007
uNlTED STATES OF AMER|CA |llichasl N. Mi|b
V_ cuuk°fcouny
Heliodor@ MoRENo (4 1 YoA) CR[MINAL COMPLAINT

cAsENuMBER; /3»07' 797 M~/

(Narne and Addreu of Defendant)

l, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or Auqust 7, 2007 in willacy County, in the

Southern District of Texas defendant(s) didl (Tr=d< Swu\°fv Lmo° of offense

knowingly and intentionally Possess with intent to distribute approximately 13.16 kilograms
of cocaine, a Scheduled II Controlled Substance, under the Controlled Substance Act of 1970,
in violation of Title 21 USC 841 (a)(l), and did further Conspire with Intent to Distribute
that same 13.16 kilograms of cocaine, in violation of Title 21 USC 846.

 

 

in violation of Title__A________United States Code. 846 and 841 (a) (1)
| further state that l am a(n) Special Aqent and that this complaint is based on the following
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thCGZ On Auqust 7, 2007, Texas Department of Public Safety Trooper Lionel Trevino conducted

a traffic stop for defective equipment on a 2003 Jeep Liberty, TX #122XDX traveling
northbound on HWY I-77 in Raymondville, Texas. Trooper Trevino obtained consent to search
from the driver identified as Heliodoro MORENO. Trooper Trevino observed a false modified
compartment that contained approximately 12 kilograms of cocaine. MORENO admitted to
placing the cocaine in the false compartment. MORENO was arrested without incident.

Continued on the attached sheet and made a part [| Yes [X|MM

SA David Nichoff

 

 

 

 

 

Signature of Conp|ainant
Swom to before me, and subscribed in my presence,
August 9, 2007 atBrownsville, Texas
Date City and te
U.S. Maqistrate Judqe John William Black 4,»'/”
Name and Tlt|e of Judioial Offioer ' nature of Judicia| 3 \

